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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :
                                             : Criminal No. 17-cr-182 (RDM)
GEORGE PAPADOPOULOS                          :
                                             :
               Defendant.                    :

                                   STATUS REPORT

       The parties respectfully request that the Court set a date for sentencing in this case. The

parties are available on September 7, 2018. Because of defense counsel’s trial schedule in

September, the parties are next available on October 1, 2018 and thereafter.


                                                     ROBERT S. MUELLER, III
                                                     Special Counsel


                                             By:     ______/s/_________________
                                                     Jeannie S. Rhee
                                                     Andrew D. Goldstein
                                                     Aaron S.J. Zelinsky
                                                     The Special Counsel’s Office

cc: Thomas M. Breen
    Robert W. Stanley




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